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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                 4:09CR3079-2
                                              )
              V.                              )
                                              )
ANDREW LAMAR CAMPBELL,                        )                     ORDER
                                              )
                     Defendant.               )

        IT IS ORDERED that the motion (filing 31) submitted by the defendant is granted in
that Pretrial Services shall conduct an investigation of the proposed third party custodian and
shall submit a written report to the undersigned and counsel regarding the defendant’s
proposal for release. Otherwise, the motion is denied.

       DATED this 4th day of November, 2009.

                                             BY THE COURT:

                                             Richard G. Kopf
                                             United States District Judge
